Case 2:14-cr-00021-RMP ECF No. 136

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UNITED STATES OF AMERICA,

Plaintiff,

VS.

Defendants.

INDICTMENT - 1

Indictment!

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Us neo IN THE
. 2. DISTRICT COURT
EASTERN DISTRICT OF WASHINGTON

FEB 2 0 2014

SEAN F. McAVoy, CLERK

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PORANE, WASHINGTON OY

UNITED STATES DISTRICT
FOR THE EASTERN DISTRICT OF WASHINGTON

2:CR-14-21-RMP
INDICTMENT

21 U.S.C. § 848
Continuing Criminal
Enterprise (Count 1)

21 U.S.C. § 846
Conspiracy to Distribute a
Controlled Substance (Count 2)

21 U.S.C. 846

Conspiracy to Distribute
Phencyclidine (Count 3)

21 U.S.C. § 846

Conspiracy to Possess with Intent to
Distribute a Controlled Substance
(Counts 4-5)

21 U.S.C. § 841(a)(1)
Distribution of a Controlled
Substance (Counts 6-7, 9-12, 14-18)
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21 U.S.C. § 841(a)(1)

Distribution of a Schedule I
Controlled Substance, in the Form of
Ecstasy (Count 8)

21 U.S.C. § 841(a)(1)
Distribution of Phencyclidine
(Count 13)

21 U.S.C. § 853
Criminal Forfeiture

The Grand Jury Charges:

COUNT 1
That beginning on a date unknown, but by on or about June 22, 2013, the
exact date being unknown to the Grand Jury, and continuously thereafter up
through and including February 19, 2014, within the Eastern District of

Washington, and elsewhere, [iii and
EE ¢fendants herein, did unlawfully, knowingly and
intentionally engage in a continuing criminal enterprise in that the Defendants

unlawfully, knowingly and intentionally violated 21 U.S.C. §§ 841(a)(1), 843(b),
846, which violations include, but are not limited to Conspiracy to Distribute a
Controlled Substance alleged in Count 3, and the substantive violations alleged in
Counts 3-5, 7-9, 12-13, which Counts and Overt Acts are re-alleged and
incorporated herein by reference as though fully set forth in this Count, and which
violations were part of a continuing series of violations of the Controlled
Substances Act, 21 U.S.C. § 801, et seq., undertaken by the Defendants, in concert
with at least five other persons with respect to whom, occupied positions of
organizer, supervisor, and any position of management, and from which such
continuing series of violations the Defendants obtained substantial income and
resources; all in violation of 21 U.S.C. § 848(a), (c).

INDICTMENT — 2

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COUNT 2
That beginning on a date unknown, but by no later than on or about July 18,
2012, the exact date being unknown to the Grand Jury, and continuously thereafter
up through and including February 19, 2014, in the Eastern District of Washington

and elsewhere, Sis,

ee and others not

known to the Grand Jury, did knowingly and intentionally combine, conspire,
confederate and agree together with each other and with other persons, both known
and unknown to the Grand Jury, to commit the following offense against the
United States, to wit: conspiracy to distribute a mixture or substance containing a
detectable amount of oxycodone hydrochloride, an opiate and Schedule II
controlled substance, pursuant to 21 U.S.C. § 812(c), specifically in the form of
pills containing oxycodone hydrochloride, in violation of 21 U.S.C. § 841(a)(1),
(b)(1)(C), all in violation of 21 U.S.C. § 846.

COUNT 3

That beginning on a date unknown, but on or about October 14, 2013, the
exact date being unknown to the Grand Jury, and continuously thereafter up
through and including February 19, 2014, in the Eastern District of Washington

INDICTMENT — 3

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and elsewhere,

i and SAM G. WARD, and others not known to the Grand
Jury, did knowingly and intentionally combine, conspire, confederate and agree
together with each other and with other persons, both known and unknown to the
Grand Jury, to commit the following offense against the United States, to wit:
distribution of Phencyclidine (“PCP”), a Schedule II controlled substance, in
violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2, all in violation of
21 U.S.C. § 846.
COUNT 4

That beginning on a date unknown, but on or about October 30, 2013, the
exact date being unknown to the Grand Jury, and continuously thereafter up
through and including November 1, 2013, in the Eastern District of Washington
and elsewhere, ee 2d others not known to the Grand Jury,
did knowingly and intentionally combine, conspire, confederate and agree together
with each other and with other persons, both known and unknown to the Grand
Jury, to commit the following offense against the United States, to wit: possession
with intent to distribute a mixture or substance containing a detectable amount of
oxycodone hydrochloride, an opiate and Schedule II controlled substance, listed at
21 U.S.C. § 812(c), specifically in the form of pills containing oxycodone
hydrochloride, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2,
all in violation of 21 U.S.C. § 846.

COUNT 5

That beginning on a date unknown, but by on or about December 17, 2013,
the exact date being unknown to the Grand Jury, and continuously thereafter up
through and including December 19, 2013, in the Eastern District of Washington

and elsewhere, i ee

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ia. and others not known to the Grand Jury, did knowingly and intentionally
combine, conspire, confederate and agree together with each other and with other
persons, both known and unknown to the Grand Jury, to commit the following
offense against the United States, to wit: possession with intent to distribute a
mixture or substance containing a detectable amount of oxycodone hydrochloride,
an opiate and Schedule II controlled substance, listed at 21 U.S.C. § 812(c),
specifically in the form of pills containing oxycodone hydrochloride, in violation
of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2, all in violation of 21 U.S.C.
§ 846.

COUNT 6
That on or about March 24, 2013, in the Eastern District of Washington,

le Defendant herein, did knowingly and intentionally
distribute a mixture or substance containing a detectable amount of oxycodone
hydrochloride, an opiate and Schedule II controlled substance, listed at 21 U.S.C. §
812(c), specifically in the form of pills containing oxycodone hydrochloride, in
violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.
COUNT 7

That on or about June 25, 2013, in the Eastern District of Washington,
a Defendant herein, did knowingly and intentionally
distribute a mixture or substance containing a detectable amount of oxycodone
hydrochloride, an opiate and Schedule II controlled substance, listed at 21 U.S.C. §
812(c), specifically in the form of pills containing oxycodone hydrochloride, in
violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.

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COUNT 8
That on or about June 25, 2013, in the Eastern District of Washington,
EE dic knowingly and intentionally distribute a mixture or
substance continuing a detectable amount of 3, 4-
methylenedioxymethamphetamine, which is commonly known as MDMA, in the
form of ecstasy pills, a Schedule I controlled substance, in violation of 21 U.S.C. §
841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.
COUNT 9
That on or about July 18, 2013, in the Eastern District of Washington,
ee Defendant herein, did knowingly and intentionally
distribute a mixture or substance containing a detectable amount of oxycodone
hydrochloride, an opiate and Schedule II controlled substance, listed at 21 U.S.C. §
812(c), specifically in the form of pills containing oxycodone hydrochloride, in
violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.
COUNT 10
That on or about August 7, 2013, in the Eastern District of Washington,
ee: ee Defendant herein, did
knowingly and intentionally distribute a mixture or substance containing a
detectable amount of oxycodone hydrochloride, an opiate and Schedule II
controlled substance, listed at 21 U.S.C. § 812(c), specifically in the form of pills
containing oxycodone hydrochloride, in violation of 21 U.S.C. § 841(a)(1),
(b)(1)(C), and 18 U.S.C. § 2.
COUNT 11
That on or about August 30, 2013, in the Eastern District of Washington,

a Defendant herein, did knowingly and intentionally distribute a
mixture or substance containing a detectable amount of oxycodone hydrochloride,

an opiate and Schedule II controlled substance, listed at 21 U.S.C. § 812(c),

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specifically in the form of pills containing oxycodone hydrochloride, in violation
of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.
COUNT 12
That on or about October 3, 2013, in the Eastern District of Washington,
EE 0: fendan herein, did knowingly and intentionally
distribute a mixture or substance containing a detectable amount of oxycodone
hydrochloride, an opiate and Schedule II controlled substance, listed at 21 U.S.C. §
812(c), specifically in the form of pills containing oxycodone hydrochloride, in
violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.
COUNT 13
That on or about October 17, 2013, in the Eastern District of Washington,
ae Se, Defendants herein, did
knowingly and intentionally distribute Phencyclidine (“PCP”), a Schedule II
controlled substance, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(©), and 18
U.S.C. § 2.
COUNT 14
That on or about October 23, 2013, in the Eastern District of Washington,
EE Defendant herein, did knowingly and intentionally
distribute a mixture or substance containing a detectable amount of oxycodone
hydrochloride, an opiate and Schedule II controlled substance, listed at 21 U.S.C. §
812(c), specifically in the form of pills containing oxycodone hydrochloride, in
violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.
COUNT 15
That on or about November 5, 2013, in the Eastern District of Washington,
a Defendant herein, did knowingly and intentionally
distribute a mixture or substance containing a detectable amount of oxycodone

hydrochloride, an opiate and Schedule II controlled substance, listed at 21 U.S.C. §

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812(c), specifically in the form of pills containing oxycodone hydrochloride, in
violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.
COUNT 16

That on or about November 14, 2013, in the Eastern District of Washington,
ee Defendant herein, did knowingly and intentionally
distribute a mixture or substance containing a detectable amount of oxycodone
hydrochloride, an opiate and Schedule II controlled substance, listed at 21 U.S.C. §
812(c), specifically in the form of pills containing oxycodone hydrochloride, in
violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.

COUNT 17
That on or about November 22, 2013, in the Eastern District of Washington,
a Defendant herein, did knowingly and intentionally distribute
a mixture or substance containing a detectable amount of oxycodone
hydrochloride, an opiate and Schedule II controlled substance, listed at 21 U.S.C. §
812(c), specifically in the form of pills containing oxycodone hydrochloride, in
violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.
COUNT 18
That on or about December 13, 2013, in the Eastern District of Washington,
SE 2.) EE Defendant herein, did knowingly
and intentionally distribute a mixture or substance containing a detectable amount
of oxycodone hydrochloride, an opiate and Schedule II controlled substance, listed
at 21 U.S.C. § 812(c), specifically in the form of pills containing oxycodone
hydrochloride, in violation of 21 U.S.C. § 841(a)(1), (b)(1)(C), and 18 U.S.C. § 2.

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NOTICE OF CRIMINAL FORFEITURE ALLEGATIONS
Pursuant to 21 U.S.C. § 853, upon conviction of an offense of violation of
21 U.S.C. §§ 841(a)(1) and 846, DEANDRE S. GAITHER, Si

a s:.211 forfeit to

the United States of America, any property constituting, or derived from, any
proceeds obtained, directly or indirectly, as the result of such offense(s) and any
property used or intended to be used, in any manner or part, to commit or to
facilitate the commission of the offense(s).

If any forfeitable property, as a result of any act or omission of the
Defendants:

(a) cannot be located upon the exercise of due diligence;

(b) has been transferred or sold to, or deposited with, a third party;

(c) has been placed beyond the jurisdiction of the court;

(d) has been substantially diminished in value; or

(e) has been commingled with other property which cannot be divided
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6 without difficulty; the United States of America shall be entitled to forfeiture of
7 substitute property pursuant to 21 U.S.C. § 853(p).
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DATED this \{. day of February, 2014.
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sistant United States Attorney

INDICTMENT -— 10

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